         1            JAMES L. DAY (WSBA #20474)                         HON. FREDERICK P. CORBIT
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         2            (WSBA #27628)
                      JASON WAX (WSBA #41944)
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         6

         7
                                      UNITED STATES BANKRUPTCY COURT
         8                            EASTERN DISTRICT OF WASHINGTON
         9        In re                                            Chapter 11
       10         1 MIN, LLC; HOTEL AT SOUTHPORT,                  Lead Case No. 24-01519
                  LLC; and TWELFTH FLOOR, LLC,
       11
                                           Debtors.
       12

       13         LAN CAI, et al.,                                 Adv. Proc. No. 25-80007
       14                                  Plaintiffs,
                          v.                                       NOTICE OF FILING
       15                                                          COMPARISON VERSION OF
                  HOTEL AT SOUTHPORT, LLC, et al.,                 DEFENDANTS’ AMENDED
       16                                                          ANSWER
                                           Defendants,
       17
                  and
       18
                  WF CREL 2020 GRANTOR TRUST,
       19
                                  Intervenor-Defendant.
       20

       21                 PLEASE TAKE NOTICE that Defendants 1 Min, LLC, Hotel at Southport, LLC,
       22         and Twelfth Floor, LLC (the “Defendants”), file as Exhibit A attached hereto a
       23

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         1        comparison version of the Defendants’ Amended Answer [Docket No. 46], marked to
         2        show changes made from the previously filed Defendants’ Answer [Docket No. 39].
         3                DATED this 9th day of May, 2025.
                                                                BUSH KORNFELD LLP
         4
                                                                By       /s/ Jason Wax
         5
                                                                     James L. Day, WSBA #20474
         6                                                           Christine M. Tobin-Presser #27628
                                                                     Jason Wax, WSBA #41944
         7
                                                                     Attorneys for the Debtor-Defendants
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                         EXHIBIT A




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         1            JAMES L. DAY (WSBA #20474)                          HON. FREDERICK P. CORBIT
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         7
                                       UNITED STATES BANKRUPTCY COURT
         8                             EASTERN DISTRICT OF WASHINGTON
         9        In re                                             Chapter 11
       10         1 MIN, LLC; HOTEL AT SOUTHPORT,                   Lead Case No. 24-01519
                  LLC; and TWELFTH FLOOR, LLC,
       11
                                            Debtors.
       12

       13         LAN CAI, et al.,                                  Adv. Proc. No. 25-80007
       14                                   Plaintiffs,
                          v.                                        DEFENDANTS’ AMENDED
       15                                                           ANSWER
                  HOTEL AT SOUTHPORT, LLC, et al.,
       16
                                            Defendants,
       17
                  and
       18
                  WF CREL 2020 GRANTOR TRUST,
       19
                                   Intervenor-Defendant.
       20

       21                 Defendants 1 Min, LLC (the “EB-5 Debtor”), Hotel at Southport, LLC (the
       22         “Hotel Debtor”), and Twelfth Floor, LLC (the “Mezz Debtor” and, together with the
       23         EB-5 Debtor and the Hotel Debtor, the “Defendants”), by and through their

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         1        undersigned counsel, hereby answer and otherwise respond to Plaintiffs’ Complaint
         2        (“Complaint”). Except as expressly admitted herein, Defendants deny each and every
         3        allegation contained in the Complaint.
         4                                      NATURE OF THE ACTION
         5                1.     Defendants deny the allegations in Paragraph 1 of the Complaint.
         6                2.     Defendants lack knowledge or information sufficient to form a belief
         7        about the truth of the allegations in Paragraph 2 of the Complaint, and on that basis
         8        deny them.
         9                3.     Paragraph 3 of the Complaint contains a legal conclusion to which no
       10         answer is required. To the extent an answer is required, Defendants deny the allegations
       11         in Paragraph 3 of the Complaint.
       12                 4.     Defendants admit that Michael Christ is the member of the general partner
       13         Southport Management LLC of Seattle Family, LP, which serves as the general partner
       14         of the Southport Hotel EB-5, LP (the “Partnership”). Defendants deny the remaining
       15         allegations in Paragraph 4 of the Complaint.
       16                 5.     Defendants admit that Michael Christ is the member of Southport
       17         Management LLC and the CEO of SECO Development, Inc. which was the manager of
       18         Hotel at Southport LLC and that the EB-5 project concerns the 12-story Hyatt Regency
       19         Hotel with 347 guest rooms located in Renton, Washington. Defendants deny the
       20         remaining allegations in Paragraph 5 of the Complaint.
       21                 6.     Defendants admit that the EB-5 project concerns a property located at
       22         1053 Lake Washington Blvd Renton, WA 98056 with a Parcel ID 052305-9075-04 and
       23

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         1        that Hotel at Southport LLC was the owner of the property. Defendants deny the
         2        remaining allegations in Paragraph 6 of the Complaint.
         3                7.     Defendants neither admit nor deny the allegations in paragraph 7 of the
         4        Complaint because they constitute Plaintiffs’ characterization of the Deed of Trust to
         5        which no response is required. To the extent a response is deemed required, Defendants
         6        respectfully refer the Court to the Deed of Trust for a full and accurate statement of its
         7        contents and otherwise deny the allegations in Paragraph 7 of the Complaint.
         8                8.     Defendants neither admit nor deny the allegations in paragraph 8 of the
         9        Complaint because they constitute Plaintiffs’ characterization of the Deed of Trust to
       10         which no response is required. To the extent a response is deemed required, Defendants
       11         respectfully refer the Court to the Deed of Trust for a full and accurate statement of its
       12         contents and otherwise deny the allegations in Paragraph 8 of the Complaint.
       13                 9.     Defendants deny the allegations in Paragraph 9 of the Complaint.
       14                 10.    Defendants deny the allegations in Paragraph 10 of the Complaint.
       15                                                    PARTIES
       16                 11.    Defendants lack knowledge or information sufficient to form a belief
       17         about the truth of the allegations in Paragraph 11 of the Complaint, and on that basis
       18         deny them.
       19                 12.    Defendants admit that Hotel at Southport LLC is a Delaware limited
       20         liability company. It is the successor-in-interest to Hotel at Southport LLC, a
       21         Washington limited liability company. It was the owner of the Land. Defendants deny
       22         the remaining allegations in Paragraph 12 of the Complaint.
       23

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         1                13.    Defendant Twelfth Floor, LLC is a Delaware limited liability company. It
         2        100% owns Hotel at Southport LLC, and it is 100% owned by 1 Min, LLC. Defendants
         3        deny the remaining allegations in Paragraph 13 of the Complaint.
         4                14.    Defendant 1 Min, LLC is a Washington limited liability company. It owns
         5        100% of Twelfth Floor, LLC, and it is 100% owned by Michael Christ. Defendants
         6        deny the remaining allegations in Paragraph 14 of the Complaint.
         7                                     JURISDICTION AND VENUE
         8                15.    Paragraph 15 of the Complaint contains a legal conclusion to which no
         9        answer is required. To the extent an answer is required, Defendants admit the
       10         allegations in Paragraph 15 of the Complaint.
       11                 16.    Paragraph 16 of the Complaint contains a legal conclusion to which no
       12         answer is required. To the extent an answer is required, Defendants admit the
       13         allegations in Paragraph 16 of the Complaint.
       14                                        FACTUAL ALLEGATIONS
       15         I.      The Chapter 11 Cases
       16                 17.    Defendants admit the allegations in Paragraph 17 of the Complaint.
       17                 18.    Defendants admit the allegations in Paragraph 18 of the Complaint.
       18                 19.    Defendants lack knowledge or information sufficient to form a belief
       19         about the truth of the allegations in Paragraph 19 of the Complaint, and on that basis
       20         deny them.
       21                 20.    Defendants admit that they filed an objection to the Plaintiffs’ Proof of
       22         Claim, and that such objection speaks for itself, and deny the remaining allegations in
       23         Paragraph 20 of the Complaint.

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         1                21.    Defendants admit that the Plaintiffs filed a limited objection to the Plan,
         2        but lack knowledge or information sufficient to form a belief about the truth of the
         3        remaining allegations in Paragraph 21 of the Complaint, and on that basis deny them.
         4                22.    Defendants admit that a Plan was confirmed on or about November 27,
         5        2024, and that such Plan speaks for itself. Defendants deny any remaining allegations
         6        in Paragraph 22 of the Complaint.
         7                23.    Defendants admit that the Plaintiffs agreed with Defendants and
         8        Intervenor-Defendant to resolve Plaintiffs’ claims via this adversary proceeding.
         9        Defendants lack knowledge or information sufficient to form a belief about the truth of
       10         the remaining allegations in Paragraph 23 of the Complaint, and on that basis deny
       11         them.
       12         II.     The EB-5 Program
       13                 24.    Paragraph 24 of the Complaint contains a legal conclusion to which no
       14         answer is required. To the extent an answer is required, Defendants deny the allegations
       15         in Paragraph 24 of the Complaint.
       16                 25.    Paragraph 25 of the Complaint contains a legal conclusion to which no
       17         answer is required. To the extent an answer is required, Defendants deny the allegations
       18         in Paragraph 25 of the Complaint.
       19                 26.    Defendants lack knowledge or information sufficient to form a belief
       20         about the truth of the remaining allegations in Paragraph 26 of the Complaint, and on
       21         that basis deny them.
       22

       23

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         1                27.    Defendants lack knowledge or information sufficient to form a belief
         2        about the truth of the remaining allegations in Paragraph 27 of the Complaint, and on
         3        that basis deny them.
         4                28.    Paragraph 28 of the Complaint contains a legal conclusion to which no
         5        answer is required. To the extent an answer is required, Defendants deny the allegations
         6        in Paragraph 28 of the Complaint.
         7                29.    Paragraph 29 of the Complaint contains a legal conclusion to which no
         8        answer is required. To the extent an answer is required, Defendants deny the allegations
         9        in Paragraph 29 of the Complaint.
       10         III.    Plaintiffs’ Investment in the Project
       11                 30.    Paragraph 30 of the Complaint contains a legal conclusion to which no
       12         answer is required. To the extent an answer is required, Defendants deny the allegations
       13         in Paragraph 30 of the Complaint.
       14                 31.    Paragraph 31 of the Complaint contains a legal conclusion to which no
       15         answer is required. To the extent an answer is required, Defendants deny the allegations
       16         in Paragraph 31 of the Complaint.
       17                 32.    Defendants admit that certain third parties who are not defendants in this
       18         adversary proceeding solicited investments for hotel construction, but otherwise deny
       19         the remaining allegations in Paragraph 32 of the Complaint.
       20                 33.    Defendants deny the allegations in Paragraph 33 of the Complaint.
       21                 34.    Defendants neither admit nor deny the allegations in Paragraph 34 of the
       22         Complaint because they constitute Plaintiffs’ characterization of the Offering
       23         Documents to which no response is required. To the extent a response is deemed

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         1        required, Defendants respectfully refer the Court to the Offering Documents for a full
         2        and accurate statement of their contents, and otherwise deny the allegations in
         3        Paragraph 34 of the Complaint.
         4                35.    Defendants neither admit nor deny the allegations in Paragraph 35 of the
         5        Complaint because they constitute Plaintiffs’ characterization of the Offering
         6        Documents to which no response is required. To the extent a response is deemed
         7        required, Defendants respectfully refer the Court to the Offering Documents for a full
         8        and accurate statement of their contents, and otherwise deny the allegations in
         9        Paragraph 35 of the Complaint.
       10                 36.    Defendants lack knowledge or information sufficient to form a belief
       11         about the truth of the allegations in Paragraph 36 of the Complaint regarding the
       12         provision of the Offering Documents to Plaintiffs, and on that basis deny those
       13         allegations. Paragraph 36 of the Complaint also contains a legal conclusion to which no
       14         answer is required. To the extent an answer is required, Defendants deny the remaining
       15         allegations in Paragraph 36 of the Complaint.
       16                 37.    Paragraph 37 of the Complaint contains a legal conclusion to which no
       17         answer is required. To the extent an answer is required, Defendants deny the allegations
       18         in Paragraph 37 of the Complaint.
       19                 38.    Defendants deny the allegations in Paragraph 38 of the Complaint as an
       20         incomplete and inaccurate statement of the facts.
       21                 39.    Defendants neither admit nor deny the allegations in Paragraph 39 of the
       22         Complaint because they constitute Plaintiffs’ characterization of the Offering
       23         Documents to which no response is required. To the extent a response is deemed

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         1        required, Defendants respectfully refer the Court to the Offering Documents for a full
         2        and accurate statement of their contents, and otherwise deny the allegations in
         3        Paragraph 39 of the Complaint.
         4                40.    Defendants neither admit nor deny the allegations in Paragraph 40 of the
         5        Complaint because they constitute Plaintiffs’ characterization of the Offering
         6        Documents to which no response is required. To the extent a response is deemed
         7        required, Defendants respectfully refer the Court to the Offering Documents for a full
         8        and accurate statement of their contents, and otherwise deny the allegations in
         9        Paragraph 40 of the Complaint.
       10                 41.    Defendants lack knowledge or information sufficient to form a belief
       11         about the truth of the remaining allegations in Paragraph 41 of the Complaint, and on
       12         that basis deny them.
       13                 42.    Defendants neither admit nor deny the allegations in Paragraph 42 of the
       14         Complaint because they constitute Plaintiffs’ characterization of the Offering
       15         Documents to which no response is required. To the extent a response is deemed
       16         required, Defendants respectfully refer the Court to the Offering Documents for a full
       17         and accurate statement of their contents, and otherwise deny the allegations in
       18         Paragraph 42 of the Complaint.
       19                 43.    Defendants deny the allegations in Paragraph 43 of the Complaint as an
       20         incomplete and inaccurate statement of the facts.
       21                 44.    Defendants deny the allegations in Paragraph 44 of the Complaint as an
       22         incomplete and inaccurate statement of the facts.
       23         IV.     Books and Records Demand

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         1                45.    Defendants neither admit nor deny the allegations in Paragraph 45 of the
         2        Complaint because they constitute Plaintiffs’ characterization of the Status Report to
         3        which no response is required. To the extent a response is deemed required, Defendants
         4        respectfully refer the Court to the Status Report for a full and accurate statement of its
         5        contents and otherwise deny the allegations in Paragraph 45 of the Complaint.
         6                46.    Defendants neither admit nor deny the allegations in Paragraph 46 of the
         7        Complaint because they constitute Plaintiffs’ characterization of the Status Report to
         8        which no response is required. To the extent a response is deemed required, Defendants
         9        respectfully refer the Court to the Status Report for a full and accurate statement of its
       10         contents and otherwise deny the allegations in Paragraph 46 of the Complaint.
       11                 47.    Defendants neither admit nor deny the allegations in Paragraph 47 of the
       12         Complaint because they constitute Plaintiffs’ characterization of the Status Report to
       13         which no response is required. To the extent a response is deemed required, Defendants
       14         respectfully refer the Court to the Status Report for a full and accurate statement of its
       15         contents and otherwise deny the allegations in Paragraph 47 of the Complaint.
       16                 48.    Defendants neither admit nor deny the allegations in Paragraph 48 of the
       17         Complaint because they constitute Plaintiffs’ characterization of the Status Report to
       18         which no response is required. To the extent a response is deemed required, Defendants
       19         respectfully refer the Court to the Status Report for a full and accurate statement of its
       20         contents and otherwise deny the allegations in Paragraph 48 of the Complaint.
       21                 49.    Defendants neither admit nor deny the allegations in Paragraph 49 of the
       22         Complaint because they constitute Plaintiffs’ characterization of the Status Report to
       23         which no response is required. To the extent a response is deemed required, Defendants

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         1        respectfully refer the Court to the Status Report for a full and accurate statement of its
         2        contents and otherwise deny the allegations in Paragraph 49 of the Complaint.
         3                50.    Defendants lack knowledge or information sufficient to form a belief
         4        about the truth of the allegations in Paragraph 50 of the Complaint, and on that basis
         5        deny them.
         6                51.    Defendants deny the allegations in Paragraph 51 of the Complaint.
         7                52.    Defendants deny the allegations in Paragraph 52 of the Complaint.
         8                53.    Defendants deny the allegations in Paragraph 53 of the Complaint.
         9                54.    Defendants deny the allegations in Paragraph 54 of the Complaint.
       10                 55.    Defendants deny the allegations in Paragraph 55 of the Complaint.
       11                 56.    Defendants deny the allegations in Paragraph 56 of the Complaint.
       12                 57.    Defendants deny the allegations in Paragraph 57 of the Complaint.
       13                 58.    Defendants deny the allegations in Paragraph 58 of the Complaint as an
       14         incomplete and inaccurate statement of the facts.
       15                 59.    Defendants neither admit nor deny the allegations in Paragraph 58 of the
       16         Complaint because they constitute Plaintiffs’ characterization of the First Amendment
       17         to PPM to which no response is required. To the extent a response is deemed required,
       18         Defendants respectfully refer the Court to the First Amendment to PPM for a full and
       19         accurate statement of its contents and otherwise deny the allegations in Paragraph 59 of
       20         the Complaint.
       21                 60.    Defendants neither admit nor deny the allegations in Paragraph 60 of the
       22         Complaint because they constitute Plaintiffs’ characterization of the Hyatt’s Franchise
       23         Disclosure Documents to which no response is required. To the extent a response is

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         1        deemed required, Defendants respectfully refer the Court to the Hyatt’s Franchise
         2        Disclosure Documents for a full and accurate statement of its contents and otherwise
         3        deny the allegations in Paragraph 60 of the Complaint.
         4                61.    Defendants deny the allegations in Paragraph 61 of the Complaint.
         5                62.    Defendants deny the allegations in Paragraph 62 of the Complaint.
         6                63.    Defendants deny the allegations in Paragraph 63 of the Complaint as an
         7        incomplete and inaccurate statement of the facts.
         8                64.    Defendants neither admit nor deny the allegations in Paragraph 64 of the
         9        Complaint because they constitute Plaintiffs’ characterization of the Hotel Cost
       10         Breakdown to which no response is required. To the extent a response is deemed
       11         required, Defendants respectfully refer the Court to the Hotel Cost Breakdown for a full
       12         and accurate statement of its contents and otherwise deny the allegations in Paragraph
       13         64 of the Complaint.
       14                 65.    Defendants deny the allegations in Paragraph 65 of the Complaint.
       15                 66.    Defendants deny the allegations in Paragraph 66 of the Complaint.
       16                 67.    Defendants deny the allegations in Paragraph 67 of the Complaint.
       17                 68.    Defendants deny the allegations in Paragraph 68 of the Complaint.
       18                 69.    Defendants deny the allegations in Paragraph 69 of the Complaint.
       19                 70.    Defendants deny the allegations in Paragraph 70 of the Complaint.
       20                 71.    Defendants neither admit nor deny the allegations in Paragraph 71 of the
       21         Complaint because they constitute Plaintiffs’ characterization of the Partnership
       22         Agreement to which no response is required. To the extent a response is deemed
       23         required, Defendants respectfully refer the Court to the Partnership Agreement for a

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         1        full and accurate statement of its contents of its contents and otherwise deny the
         2        allegations in Paragraph 71 of the Complaint.
         3                72.    Defendants deny the allegations in Paragraph 72 of the Complaint.
         4                73.    Defendants deny the allegations in Paragraph 73 of the Complaint.
         5                74.    Defendants admit that Plaintiffs have not received any money from
         6        Defendants. Defendants deny the remaining allegations in Paragraph 74 of the
         7        Complaint.
         8                75.    Defendants deny the allegations in Paragraph 75 of the Complaint.
         9                76.    Defendants deny the allegations in Paragraph 76 of the Complaint.
       10         V.      Alter Ego of Defendants
       11                 77.    Paragraph 77 of the Complaint contains a legal conclusion to which no
       12         answer is required. To the extent an answer is required, Defendants deny the allegations
       13         in Paragraph 77 of the Complaint.
       14                 78.    Paragraph 78 of the Complaint contains a legal conclusion to which no
       15         answer is required. To the extent an answer is required, Defendants deny the allegations
       16         in Paragraph 78 of the Complaint.
       17                 79.    Paragraph 79 of the Complaint contains a legal conclusion to which no
       18         answer is required. To the extent an answer is required, Defendants deny the allegations
       19         in Paragraph 79 of the Complaint.
       20                 80.    Paragraph 80 of the Complaint contains a legal conclusion to which no
       21         answer is required. To the extent an answer is required, Defendants deny the allegations
       22         in Paragraph 80 of the Complaint.
       23

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         1                81.    Paragraph 81 of the Complaint contains a legal conclusion to which no
         2        answer is required. To the extent an answer is required, Defendants deny the allegations
         3        in Paragraph 81 of the Complaint.
         4                82.    Defendants deny the allegations in Paragraph 82 of the Complaint.
         5                83.    Paragraph 83 of the Complaint contains a legal conclusion to which no
         6        answer is required. To the extent an answer is required, Defendants deny the allegations
         7        in Paragraph 83 of the Complaint.
                                                        COUNT I
         8
                                              DIRECT CLAIM FOR FRAUD
         9                                       (Against All Defendants)

       10
                          84.    With respect to Paragraph 84 of the Complaint, Defendants repeat and

       11
                  reallege their responses to Paragraphs 1 through 83 as if fully set forth herein.

       12
                          85.    Paragraph 85 of the Complaint contains a legal conclusion to which no

       13
                  answer is required. To the extent an answer is required, Defendants deny the allegations

       14
                  in Paragraph 85 of the Complaint.

       15
                          86.    Paragraph 86 of the Complaint contains a legal conclusion to which no

       16
                  answer is required. To the extent an answer is required, Defendants deny the allegations

       17
                  in Paragraph 86 of the Complaint.

       18
                          87.    Paragraph 87 of the Complaint contains a legal conclusion to which no

       19
                  answer is required. To the extent an answer is required, Defendants deny the allegations

       20
                  in Paragraph 87 of the Complaint.

       21
                          88.    Paragraph 88 of the Complaint contains a legal conclusion to which no

       22
                  answer is required. To the extent an answer is required, Defendants deny the allegations

       23
                  in Paragraph 88 of the Complaint.

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         1                89.    Paragraph 89 of the Complaint contains a legal conclusion to which no
         2        answer is required. To the extent an answer is required, Defendants deny the allegations
         3        in Paragraph 89 of the Complaint.
         4                90.    Paragraph 90 of the Complaint contains a legal conclusion to which no
         5        answer is required. To the extent an answer is required, Defendants deny the allegations
         6        in Paragraph 90 of the Complaint.
         7                91.    Paragraph 91 of the Complaint contains a legal conclusion to which no
         8        answer is required. To the extent an answer is required, Defendants deny the allegations
         9        in Paragraph 91 of the Complaint.
       10                 92.    Paragraph 92 of the Complaint contains a legal conclusion to which no
       11         answer is required. To the extent an answer is required, Defendants deny the allegations
       12         in Paragraph 92 of the Complaint.
       13                 93.    Paragraph 93 of the Complaint contains a legal conclusion to which no
       14         answer is required. To the extent an answer is required, Defendants deny the allegations
       15         in Paragraph 93 of the Complaint.
       16                 94.    Paragraph 94 of the Complaint contains a legal conclusion to which no
       17         answer is required. To the extent an answer is required, Defendants deny the allegations
       18         in Paragraph 94 of the Complaint.
       19                 95.    Paragraph 95 of the Complaint contains a legal conclusion to which no
       20         answer is required. To the extent an answer is required, Defendants deny the allegations
       21         in Paragraph 95 of the Complaint.
                                                   COUNT II
       22
                                 DIRECT CLAIM FOR BREACH OF FIDUCIARY DUTY
       23                                    (Against All Defendants)

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         1                96.    With respect to Paragraph 96 of the Complaint, Defendants repeat and
         2        reallege their responses to Paragraphs 1 through 95 as if fully set forth herein.
         3                97.    Paragraph 97 of the Complaint contains a legal conclusion to which no
         4        answer is required. To the extent an answer is required, Defendants deny the allegations
         5        in Paragraph 97 of the Complaint.
         6                98.    Paragraph 98 of the Complaint contains a legal conclusion to which no
         7        answer is required. To the extent an answer is required, Defendants deny the allegations
         8        in Paragraph 98 of the Complaint.
         9                99.    Paragraph 99 of the Complaint contains a legal conclusion to which no
       10         answer is required. To the extent an answer is required, Defendants deny the allegations
       11         in Paragraph 99 of the Complaint.
       12                 100. Paragraph 100 of the Complaint contains a legal conclusion to which no
       13         answer is required. To the extent an answer is required, Defendants deny the allegations
       14         in Paragraph 100 of the Complaint.
       15                 101. Paragraph 101 of the Complaint contains a legal conclusion to which no
       16         answer is required. To the extent an answer is required, Defendants deny the allegations
       17         in Paragraph 101 of the Complaint.
       18                 102. Paragraph 102 of the Complaint contains a legal conclusion to which no
       19         answer is required. To the extent an answer is required, Defendants deny the allegations
       20         in Paragraph 102 of the Complaint.
       21                 103. Paragraph 103 of the Complaint contains a legal conclusion to which no
       22         answer is required. To the extent an answer is required, Defendants deny the allegations
       23         in Paragraph 103 of the Complaint.

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         1                104. Paragraph 104 of the Complaint contains a legal conclusion to which no
         2        answer is required. To the extent an answer is required, Defendants deny the allegations
         3        in Paragraph 104 of the Complaint.
         4                105. Paragraph 105 of the Complaint contains a legal conclusion to which no
         5        answer is required. To the extent an answer is required, Defendants deny the allegations
         6        in Paragraph 105 of the Complaint.
         7                106. Paragraph 106 of the Complaint contains a legal conclusion to which no
         8        answer is required. To the extent an answer is required, Defendants deny the allegations
         9        in Paragraph 106 of the Complaint.
       10                 107. Paragraph 107 of the Complaint contains a legal conclusion to which no
       11         answer is required. To the extent an answer is required, Defendants deny the allegations
       12         in Paragraph 107 of the Complaint.
       13                 108. Paragraph 108 of the Complaint contains a legal conclusion to which no
       14         answer is required. To the extent an answer is required, Defendants deny the allegations
       15         in Paragraph 108 of the Complaint.
       16                 109. Paragraph 109 of the Complaint contains a legal conclusion to which no
       17         answer is required. To the extent an answer is required, Defendants deny the allegations
       18         in Paragraph 109 of the Complaint.
       19                 110. Paragraph 110 of the Complaint contains a legal conclusion to which no
       20         answer is required. To the extent an answer is required, Defendants deny the allegations
       21         in Paragraph 110 of the Complaint.
                                                   COUNT III
       22
                                               DIRECT CLAIM FOR
       23                        AIDING AND ABETTING BREACH OF FIDUCIARY DUTY

                                                                                    B USH K ORN FELD L LP
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         1                                        (Against All Defendants)
         2                111. With respect to Paragraph 111 of the Complaint, Defendants repeat and
         3        reallege their responses to Paragraphs 1 through 110 as if fully set forth herein.
         4                112. Paragraph 112 of the Complaint contains a legal conclusion to which no
         5        answer is required. To the extent an answer is required, Defendants deny the allegations
         6        in Paragraph 112 of the Complaint.
         7                113. Paragraph 113 of the Complaint contains a legal conclusion to which no
         8        answer is required. To the extent an answer is required, Defendants deny the allegations
         9        in Paragraph 113 of the Complaint.
       10                 114. Paragraph 114 of the Complaint contains a legal conclusion to which no
       11         answer is required. To the extent an answer is required, Defendants deny the allegations
       12         in Paragraph 114 of the Complaint.
       13                 115. Paragraph 115 of the Complaint contains a legal conclusion to which no
       14         answer is required. To the extent an answer is required, Defendants deny the allegations
       15         in Paragraph 115 of the Complaint.
       16                 116. Paragraph 116 of the Complaint contains a legal conclusion to which no
       17         answer is required. To the extent an answer is required, Defendants deny the allegations
       18         in Paragraph 116 of the Complaint.
                                                    COUNT IV
       19
                                      DIRECT CLAIM FOR SECURITIES FRAUD
       20                                     (Against All Defendants)

       21                 117. With respect to Paragraph 117 of the Complaint, Defendants repeat and

       22         reallege their responses to Paragraphs 1 through 116 as if fully set forth herein.

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         1                118. Paragraph 118 of the Complaint contains a legal conclusion to which no
         2        answer is required. To the extent an answer is required, Defendants deny the allegations
         3        in Paragraph 118 of the Complaint.
         4                119. Paragraph 119 of the Complaint contains a legal conclusion to which no
         5        answer is required. To the extent an answer is required, Defendants deny the allegations
         6        in Paragraph 119 of the Complaint.
         7                120. Paragraph 120 of the Complaint contains a legal conclusion to which no
         8        answer is required. To the extent an answer is required, Defendants deny the allegations
         9        in Paragraph 120 of the Complaint.
       10                 121. Paragraph 121 of the Complaint contains a legal conclusion to which no
       11         answer is required. To the extent an answer is required, Defendants deny the allegations
       12         in Paragraph 121 of the Complaint.
       13                 122. Paragraph 122 of the Complaint contains a legal conclusion to which no
       14         answer is required. To the extent an answer is required, Defendants deny the allegations
       15         in Paragraph 122 of the Complaint.
       16                 123. Paragraph 123 of the Complaint contains a legal conclusion to which no
       17         answer is required. To the extent an answer is required, Defendants deny the allegations
       18         in Paragraph 123 of the Complaint.
       19                 124. Paragraph 124 of the Complaint contains a legal conclusion to which no
       20         answer is required. To the extent an answer is required, Defendants deny the allegations
       21         in Paragraph 124 of the Complaint.
       22

       23

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         1                125. Paragraph 125 of the Complaint contains a legal conclusion to which no
         2        answer is required. To the extent an answer is required, Defendants deny the allegations
         3        in Paragraph 125 of the Complaint.
         4                126. Paragraph 126 of the Complaint contains a legal conclusion to which no
         5        answer is required. To the extent an answer is required, Defendants deny the allegations
         6        in Paragraph 126 of the Complaint.
         7                127. Paragraph 127 of the Complaint contains a legal conclusion to which no
         8        answer is required. To the extent an answer is required, Defendants deny the allegations
         9        in Paragraph 127 of the Complaint.
       10                 128. Paragraph 128 of the Complaint contains a legal conclusion to which no
       11         answer is required. To the extent an answer is required, Defendants deny the allegations
       12         in Paragraph 128 of the Complaint.
       13                 129. Paragraph 129 of the Complaint contains a legal conclusion to which no
       14         answer is required. To the extent an answer is required, Defendants deny the allegations
       15         in Paragraph 129 of the Complaint.
                                                    COUNT VI
       16
                                      DIRECT CLAIM FOR CIVIL CONSPIRACY
       17                                     (Against All Defendants)

       18
                          130. With respect to Paragraph 130 of the Complaint, Defendants repeat and

       19
                  reallege their responses to Paragraphs 1 through 129 as if fully set forth herein.

       20
                          131. Paragraph 131 of the Complaint contains a legal conclusion to which no

       21
                  answer is required. To the extent an answer is required, Defendants deny the allegations

       22
                  in Paragraph 131 of the Complaint.

       23

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         1                132. Paragraph 132 of the Complaint contains a legal conclusion to which no
         2        answer is required. To the extent an answer is required, Defendants deny the allegations
         3        in Paragraph 132 of the Complaint.
         4                133. Paragraph 133 of the Complaint contains a legal conclusion to which no
         5        answer is required. To the extent an answer is required, Defendants deny the allegations
         6        in Paragraph 133 of the Complaint.
                                                    COUNT VII
         7
                                            VIOLATION OF RCW 19.86.020
         8                                     (Against All Defendants)

         9
                          134. Paragraph 134 of the Complaint contains a legal conclusion to which no

       10
                  answer is required. To the extent an answer is required, Defendants deny the allegations

       11
                  in Paragraph 134 of the Complaint.

       12
                          135. Paragraph 135 of the Complaint contains a legal conclusion to which no

       13
                  answer is required. To the extent an answer is required, Defendants deny the allegations

       14
                  in Paragraph 135 of the Complaint.

       15
                          136. Paragraph 136 of the Complaint contains a legal conclusion to which no

       16
                  answer is required. To the extent an answer is required, Defendants deny the allegations

       17
                  in Paragraph 136 of the Complaint.

       18
                          137. Paragraph 137 of the Complaint contains a legal conclusion to which no

       19
                  answer is required. To the extent an answer is required, Defendants deny the allegations

       20
                  in Paragraph 137 of the Complaint.

       21
                          138. Paragraph 138 of the Complaint contains a legal conclusion to which no

       22
                  answer is required. To the extent an answer is required, Defendants deny the allegations

       23
                  in Paragraph 138 of the Complaint.

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         1                139. Paragraph 139 of the Complaint contains a legal conclusion to which no
         2        answer is required. To the extent an answer is required, Defendants deny the allegations
         3        in Paragraph 139 of the Complaint.
         4                140. Paragraph 140 of the Complaint contains a legal conclusion to which no
         5        answer is required. To the extent an answer is required, Defendants deny the allegations
         6        in Paragraph 140 of the Complaint.
         7                141. Paragraph 141 of the Complaint contains a legal conclusion to which no
         8        answer is required. To the extent an answer is required, Defendants deny the allegations
         9        in Paragraph 141 of the Complaint.
       10                 142. Paragraph 142 of the Complaint contains a legal conclusion to which no
       11         answer is required. To the extent an answer is required, Defendants deny the allegations
       12         in Paragraph 142 of the Complaint.
       13                 143. Paragraph 143 of the Complaint contains a legal conclusion to which no
       14         answer is required. To the extent an answer is required, Defendants deny the allegations
       15         in Paragraph 143 of the Complaint.
       16                 144. Paragraph 144 of the Complaint contains a legal conclusion to which no
       17         answer is required. To the extent an answer is required, Defendants deny the allegations
       18         in Paragraph 144 of the Complaint.
       19                 145. Paragraph 145 of the Complaint contains a legal conclusion to which no
       20         answer is required. To the extent an answer is required, Defendants deny the allegations
       21         in Paragraph 145 of the Complaint.
       22

       23

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         1                146. Paragraph 146 of the Complaint contains a legal conclusion to which no
         2        answer is required. To the extent an answer is required, Defendants deny the allegations
         3        in Paragraph 146 of the Complaint.
         4                                          PRAYER FOR RELIEF
         5                Plaintiffs’ Prayer for Relief is not an allegation and does not require an answer.
         6        To the extent an answer is required, Defendants deny that Plaintiffs are entitled to the
         7        requested relief.
         8                                       AFFIRMATIVE DEFENSES
         9                1.     The Complaint fails to state a claim upon which relief can be granted.
       10                 2.     Plaintiffs’ claims are barred, in whole or in part, by the terms of the
       11         Offering Documents and related documents.
       12                 3.     Plaintiffs’ claims are barred, in whole or in part, by the defense of
       13         economic or business justification.
       14                 4.     Plaintiffs’ claims are barred, in whole or in part, by the applicable statute
       15         of limitations and/or the doctrines of waiver, estoppel, and/or laches.
       16                 5.     Plaintiffs’ claims are barred, in whole or in part, because any alleged
       17         damages that Plaintiffs claim to have suffered were caused by a third party.
       18                 6.     Any damage, loss, or liability sustained by Plaintiffs must be reduced,
       19         diminished, and/or eliminated in proportion to the wrongful or negligent conduct of
       20         entities or individuals other than Defendants, including under principles of equitable
       21         allocation, recoupment, set-off, contribution, proportionate responsibility, and
       22         comparative fault.
       23

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         1                7.     Plaintiffs’ claims are barred because their alleged damages, if any, are too
         2        speculative or remote, and because of the impossibility of the proof and allocation of
         3        these alleged damages.
         4                8.     Plaintiffs’ claims are barred, in whole or in part, by Plaintiffs’ failure to
         5        mitigate their damages, if any.
         6                9.     Plaintiffs’ claims are barred, in whole or in part, by the doctrine of unclean
         7        hands.
         8                10.    Plaintiffs’ claims are barred, in whole or in part, because Defendants are
         9        not the proximate or legal cause of Plaintiffs’ alleged damages.
       10                 11.    Plaintiffs’ claims are barred, in whole or in part, because Defendants did
       11         not breach any legal obligation or duty alleged in the Complaint.
       12                 12.    Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs
       13         assumed the risk of loss.
       14                 13.    Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs lack
       15         standing and/or privity.
       16                 14.    Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs failed
       17         to exercise applicable rights they may have had under the Offering Documents and
       18         related documents.
       19                 15.    Defendants reserve and assert all affirmative defenses available under any
       20         applicable federal or state law or equity, and reserve the right to assert other defenses,
       21         cross-claims, and third-party claims if and when they become appropriate in this action.
       22                 16.    Plaintiffs’ claims are barred by each of the affirmative defenses referenced
       23         above and should be dismissed for the reasons set out in the AP Defendants’

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         1        Memorandum of Law in Support of their Motion to Dismiss the Complaint [ECF No.
         2        14].
         3                But even assuming arguendo that all of Plaintiffs’ allegations against the Debtor-
         4        Defendants were true, Plaintiffs’ claims would be required to be subordinated to all
         5        creditors’ claims, including the claims of WF Trust, pursuant to Section 510(b) of the
         6        Bankruptcy Code, 11 U.S.C. § 510(b) (“Section 510(b)”), which provides that “a claim
         7        arising from rescission of a purchase or sale of a security of the debtor or of an affiliate
         8        of the debtor, for damages arising from the purchase or sale of such a security, or for
         9        reimbursement or contribution allowed under section 502 on account of such a claim,
       10         shall be subordinated to all claims or interests that are senior to or equal the claim or
       11         interest represented by such security.”
       12                 Specifically, pursuant to an offering that closed in 2016 (the “Offering”),
       13         Plaintiffs allegedly purchased limited partnership units in Southport Hotel EB-5 LP (the
       14         “Partnership”), as a means of facilitating their immigration into the United States. In
       15         turn, the Partnership extended a loan to Hotel at Southport, a Washington LLC, for the
       16         development and construction of the Hyatt Regency Lake Washington (the “Project”).
       17                 Plaintiffs allege that the Debtor-Defendants should be held liable for fraud and
       18         other torts in connection with the Offering because they are purported “alter egos” of
       19         (a) Michael Christ, the developer of the Project, and (b) the General Partner of the
       20         Partnership, Seattle Family, LP (Compl. ¶ 77, 83).
       21                 In addition to alleging that the Debtor-Defendants and the General Partner (and
       22         by extension, the Partnership) are “alter egos,” Plaintiffs allege that the Debtor-
       23         Defendants should be deemed to be sellers of the limited partnership units that

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         1        Plaintiffs allegedly purchased.1 Specifically, Plaintiffs allege, inter alia, that (a) “[t]he
         2        equity interests in the Partnership sold to Plaintiffs are securities” (id. ¶ 119), (b)
         3        “Defendants, by using the General Partner as their conduit, provided Plaintiffs . . . with
         4        Offering Documents [related to the Offering]” (id. ¶ 120), and (c) the Debtor-
         5        Defendants “are sellers and solicitors of securities . . . and played a substantial role in
         6        persuading Plaintiffs to buy the security [i.e., the limited partnership units in the
         7        Partnership] and successfully solicited the purchase to serve their own financial
         8        interests” (id. ¶ 126).
         9

       10                 Accordingly, based on Plaintiffs’ own allegations, their claims are subject to
       11         Section 510(b) because they seek “damages arising from the purchase or sale of” “a
       12         security of the debtor or of an affiliate of the debtor.” Section 510(b). As such,
       13         Plaintiffs’ claims “shall be subordinated to all claims or interests that are senior to or
       14         equal the claim or interest represented by such security,” including, but not limited to,
       15         the claims of WF Trust.
       16                                            RESERVATION OF RIGHTS
       17                 Defendants reserve the right to assert all arguments and defenses lawfully
       18         available to them, including but not limited to those defenses asserted herein and all
       19         defenses asserted by any other Defendant in this action. Defendants also reserve the
       20         right to add defenses and affirmative defenses, to add counterclaims and third-party
       21         defendants, and to argue legal theories in addition to or in lieu of those specifically
       22
                  1
                   An “interest of a limited partner in a limited partnership” is expressly deemed a “security” for purposes of
       23         Section 510(b). Bankruptcy Code § 101(49)(xiii).

                                                                                                    B USH K ORN FELD L LP
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         1        identified herein, as the facts in the matter may warrant, including without limitation
         2        additional or further facts hereafter disclosed through discovery.
         3                                         PRAYER FOR RELIEF
         4                WHEREFORE, having fully answered the Complaint, and having asserted
         5        affirmative defenses, Defendants pray for relief as follows:
         6                A.     for an order and judgment dismissing with prejudice all claims and
         7        allegations asserted in the Complaint against all Defendants;
         8                B.     for an award to Defendants, and against Plaintiffs, of attorneys’ fees and
         9        costs of suit, as allowed by any contractual, equitable, legal, or statutory basis; and
       10                 C.     for all such other and further relief to Defendants as the Court deems just
       11         and equitable.
       12                 DATED this 925th day of MayApril, 2025.
                                                              BUSH KORNFELD LLP
       13
                                                                   By       /s/ Jason Wax
       14
                                                                        James L. Day, WSBA #20474
       15                                                               Christine M. Tobin-Presser #27628
                                                                        Jason Wax, WSBA #41944
       16
                                                                        Attorneys for the Debtor-Defendants
       17

       18

       19

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